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                                FIFTH DISTRICT COURT-ST GEORGE
                               WASHINGTON COUNTY, STATE OF UTAH

                         TREVOR POPE vs. MARCO C ORDUNO et al.
CASE NUMBER 220500415 Automobile Tort

CURRENT ASSIGNED JUDGE
         JEFFREY C WILCOX

PARTIES
          Plaintiff - TREVOR POPE
          Represented by: NATHAN LANGSTON

          Defendant - MARCO C ORDUNO

          Defendant - VM GLOBAL TRANSPORT LLC


ACCOUNT SUMMARY
                Total Revenue Amount Due:          375.00
                             Amount Paid:          375.00
                           Amount Credit:             0.00
                                 Balance:             0.00
          REVENUE DETAIL - TYPE: COMPLAINT - NO AMT S
                     Original Amount Due:          375.00
                      Amended Amount Due:          375.00
                             Amount Paid:          375.00
                           Amount Credit:             0.00
                                 Balance:             0.00


CASE NOTE


PROCEEDINGS
07-11-2022    Filed: Complaint Tier III
07-11-2022    Case filed by efiler
07-11-2022    Fee Account created Total Due: 375.00
07-11-2022    COMPLAINT - NO AMT S Payment Received: 375.00
07-11-2022    Judge JEFFREY C WILCOX assigned.
07-11-2022    Filed: Return of Electronic Notification
08-09-2022    Filed: Motion For Alternative Service
                   Filed by: TREVOR POPE
08-09-2022    Filed: Request/Notice to Submit Re Plaintiffs Motion for
              Alternative Service
08-09-2022    Filed: Order (Proposed) Granting Plaintiffs Motion for
              Alternative Service
08-09-2022    Filed: Return of Electronic Notification
08-11-2022    Filed order: Order Granting Plaintiffs Motion for Alternative
              Service
                   Judge JEFFREY C WILCOX
                   Signed August 11, 2022
08-11-2022    Filed: Return of Electronic Notification

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                                    Tort    2-1 Filed 09/21/22 PageID.42 Page 37 of 37
09-20-2022   Filed: Notice of Filing Notice of Removal
09-20-2022   Filed: Return of Electronic Notification




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